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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    EUGENE DIVISION

 JULIANNA PADE,                                   Case No. 6:19-cv-01511

                     Plaintiff,                   NOTICE OF REMOVAL OF
                                                  DEFENDANT VOLKSWAGEN GROUP
           v.                                     OF AMERICA, INC.

 VOLKSWAGEN GROUP OF AMERICA,
 INC., a New Jersey corporation, and AUTO
 KINGS LLC, an Oregon corporation,

                     Defendants.

      TO THE CLERK OF THE COURT:

      PLEASE TAKE NOTICE that Defendant Volkswagen Group of America, Inc.

(“VWGoA”), by and through counsel, hereby removes the state court action entitled Julianna

Pade v. Volkswagen Group of America, Inc., and Auto Kings LLC, Circuit Court of Oregon,

County of Deschutes, Case No. 19CV37531, to this Court pursuant to 28 U.S.C. §§ 1332,

1441(b), and 1446. The grounds for removal are set forth below.
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                                     I.      INTRODUCTION

       1.     This action arises out a July 25, 2018, single-vehicle accident in Deschutes County,

Oregon. See Complaint, attached as Exhibit A. The accident occurred at approximately 2:00 am

when a 2011 Volkswagen Jetta (“Subject Vehicle”) being driven by Ms. Dayton Sauer ran off the

road and struck a fence and one or more trees. Ms. Sauer was drunk at the time of the accident,

and she was subsequently charged with multiple DUII-related criminal offenses. Plaintiff was an

unbelted front seat passenger in the Subject Vehicle at the time of the accident. Plaintiff alleges

that she was seriously injured during the accident when her face impacted the Subject Vehicle’s

front windshield.

       2.       Notwithstanding Plaintiff’s and the driver’s obvious fault, Plaintiff has filed a strict

products liability action against VWGoA based on the theory that the Subject Vehicle was

unreasonably dangerous and defective. Specifically, Plaintiff alleges that the Subject Vehicle was

defective because the front passenger airbag did not deploy. Exhibit A, pp. 1-5. In addition, she

alleges that VWGoA knew of this alleged defect, but failed to recall the product or issue adequate

warnings. Id.

       3.       Plaintiff has also named as a defendant an Oregon resident, Auto Kings LLC

(“Auto Kings”). The Complaint states that Auto Kings is a used vehicle dealer located in Bend,

Oregon, and that Auto Kings allegedly sold the Subject Vehicle – used – to the driver, Ms. Sauer.

Exhibit A., ¶ 2; Exhibit B, Carfax report. 1 Plaintiff’s Complaint alleges that Auto Kings is liable

to Plaintiff for strict products liability. Exhibit A., First Claim for Relief. That is the only claim


1
 As set forth below, the Court can look outside of the pleadings to determine diversity jurisdiction
in cases involving a fraudulently joined resident defendant. The Carfax report for the Subject
Vehicle shows that Auto Kings was the fourth-hand seller of the Subject Vehicle.
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referencing Auto Kings. Plaintiff does not allege any wrongdoing or actionable conduct by Auto

Kings, let alone provide any legal or factual bases to impose strict products liability action against

the fourth-hand seller of a used vehicle. See Tillman v. Vance Equip. Co., 286 Or. 747, 755-56

(1979) (stating the general rule that sellers of used products are not strictly liable under Oregon

law). Plaintiff has not stated a viable cause of action against Auto Kings and, based on the claim

and allegations contained in the Complaint, she has no possibility of holding Auto Kings liable

for her personal injuries. Therefore, Auto Kings is a fraudulently joined party and its citizenship

should be disregarded for the purpose of determining diversity jurisdiction.

                                II.    PROCEDURAL HISTORY

       4.      Plaintiff filed the Complaint in Deschutes County Circuit Court on August 27,

2019, Case No. 19CV37531.

       5.      The Summons and Complaint were served on VWGoA on August 30, 2019.

       6.      Plaintiff’s Complaint alleges two claims for relief: Products Liability (VWGoA

and Auto Kings) and Negligence (VWGoA). The Complaint alleges that Auto Kings sold the

vehicle used. Exhibit A, ¶ 2. The Complaint also alleges that the Subject Vehicle was not altered

or modified from its original manufacture. Exhibit A., ¶ 5. Furthermore, all of the Complaint’s

allegations of fault and/or injury causation relate exclusively to the original design and

manufacture of the Subject Vehicle’s front passenger airbag. Exhibit A, ¶¶ 4-8, 13-14.

                         III.    PAPERS FROM REMOVED ACTION

       7.      Pursuant to 28 U.S.C. § 1446(a), all state court papers served on VWGoA at the

time of removal, consisting of the summons and complaint, are attached as Exhibit A.




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       8.      No further proceedings have been had in the Circuit Court of Deschutes County,

Oregon, as of the date of this Removal.

               IV.     BASIS FOR REMOVAL: DIVERSITY JURISDICTION

       9.      This is an action over which this Court has original jurisdiction under 28 U.S.C.

§ 1332 and is one that may be removed to this Court under 28 U.S.C. § 1441, in that there exists

complete diversity of citizenship between Plaintiff and VWGoA.

       10.     Defendant VWGoA, at all times material hereto, at the time of filing of the

Complaint, and at the time of this Removal, was and is a New Jersey corporation organized under

the laws of a State other than the State of Oregon. VWGoA has its principal place of business in

Virginia.

       11.     Plaintiff Julianna Pade is a citizen of the State of Oregon.

       12.     Based on the allegations in the Complaint, the amount in controversy, exclusive of

interests and costs, exceeds $75,000, as required by 28 U.S.C. § 1332(a). The Complaint prayer

seeks $3,750,000 in damages, consisting of $750,000 in alleged economic damages and

$3,000,000 in alleged noneconomic damages. Exhibit A., p. 5.

       13.     Auto Kings is a fraudulently joined defendant and, therefore, Auto King’s

citizenship should be disregarded for the purposes of federal diversity jurisdiction. Ritchley v.

Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998) (“Fraudulently joined defendants will not

defeat removal on diversity grounds.”); see also, 28 U.S.C. § 1441(b)(2) (only the citizenship of

parties in interest properly joined is considered in determining if diversity requirements are met).




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        14.     A party seeking removal is entitled to present facts outside of the pleading to

demonstrate that a resident defendant was fraudulently joined. Grancare, LLC v. Thrower by and

through Mills, 889 F.3d 543, 549 (9th Cir. 2018).

        15.     A fraudulently joined defendant is a resident defendant against whom the plaintiff

has failed to state a cause of action and that failure is obvious under the settled rules of the state.

McCabe v. Gen. Foods Corp., 811 F.2d 1336 (9th Cir. 1987). The Ninth Circuit has stated that

fraudulent joinder will apply where there is no possibility that a state court could find the

complaint stated a cause of action against the non-diverse defendant. Grancare LLC, 889 F.3d at

549 (citing Hunter v. Philip Morris USA, 582 F.3d 1039, 1046 (9th Cir. 2009). Courts have

described fraudulent joinder to mean situations when “there is no reasonable basis in fact or

colorable grounds supporting the claim against the joined defendant, or no real intention in good

faith to prosecute the action against the defendant or seek a joint judgment.” Goldberg v. CPC

Int’l, Inc., 495 F. Supp. 233, 239 (N.D. Cal. 1980) (citing Wilson v. Republic Iron & Steel Co.,

257 U.S. 92, 97-98 (1921)).

        16.     Plaintiff’s Complaint does not state a viable claim against Auto Kings. Moreover,

Plaintiff cannot possibly maintain a product liability claim against Auto Kings – the fourth-hand

seller of a used car – under settled Oregon law. Oregon products liability law is governed by Or.

Rev. Stat. § 30.920. The statute authorizes a cause of action against manufacturers, distributors

and sellers regularly engaged in the business of selling a product if the product is sold in “a

defective condition unreasonably dangerous to the user or consumer[,]” and if the “product is

expected to and does reach the user or consumer without substantial change in the condition in

which it is sold or leased.” Or. Rev. Stat. § 30.920(1)(a)-(b). The Oregon Supreme Court has


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held that sellers of used goods are not strictly liable in tort for alleged defects created by the

manufacturer. Tillman, 286 Or. at 755-56 (“[T]he sale of a used product, without more, may not

be found to generate the kind of expectations of safety that the courts have held are justifiably

created by the introduction of a new product into the stream of commerce.”); see also, Allstate

Indem. Co. v. Go Appliances, LLC, No. 05-1595, AA, 2006 WL 2045860, at *2 (D. Or. July 19,

2006) (relying on Tillman for the proposition that sellers of used products are not liable in tort for

strict products liability, but determining that Tillman was distinguishable because the defendant –

who sold a used refrigerator – installed a brand-new compressor component into the used

refrigerator, which allegedly caused the subject fire). In this case, Plaintiff’s Complaint expressly

states that the Subject Vehicle was sold used and was not altered or modified from its original

manufacture. Exhibit A., ¶ 5. Plaintiff sued Auto Kings for an alleged defect existing in the

original design or manufacture of the Subject Vehicle’s airbag system. This type of claim is

barred under Tillman and Plaintiff has no possible grounds for recovery against the used car

dealer on the claim or facts alleged.

        17.     Similarly, Plaintiff’s Complaint contains no factual bases that would enable her to

prevail on any possible alternative theory of recovery against Auto Kings. Auto Kings was the

fourth-hand seller of a seven-year-old product. 2 Exhibit B. Based on the factual allegations of

the Complaint, there is simply no connection between Auto Kings and Plaintiff’s injuries or

alleged damages. For example, the facts of the accident (a drunk and negligent driver who drove

off the road and ran the vehicle into a fence and tree); the allegations of fault (failure to properly


2
 According to the Carfax report, the vehicle was sold new in 2011. It was originally re-sold in
2014. It was re-sold again in 2016. It was re-sold again to Auto Kings in April 2018. Auto
Kings then sold the vehicle to the at-fault driver, Ms. Sauer, on or around June 2018.
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design, manufacture, or warn regarding airbags), and the injury mechanism (an unbelted

passenger propelled forward striking the inside of the vehicle during the crash) all have absolutely

nothing to do with the duties or responsibilities of a used car dealer. Simply put, Plaintiff has no

basis for suing Auto Kings. It appears Auto Kings was named in the Complaint solely to defeat

diversity jurisdiction.

                                   V.     REMOVAL IS TIMELY

        18.     VWGoA’s Notice of Removal is timely filed under 28 U.S.C. § 1446(b), which

provides that a notice of removal must be filed within 30 days after a defendant receives, by

service of process or otherwise, the initial pleading. Plaintiff’s Complaint was served on

VWGoA on August 30, 2019. This Notice of Removal is therefore timely as it is being filed

within 30 days of VWGoA’s receipt of a copy of the Complaint.

              VI.    VENUE AND OTHER REQUIREMENTS ARE SATISFIED

        19.     The Circuit Court of the State of Oregon, County of Deschutes, is located in the

District of Oregon, Eugene Division. Therefore, venue is proper because the District of Oregon is

the “district and division embracing the place where such action is pending.” See 28 U.S.C.

§ 1441(a).

        20.     VWGoA is the only defendant not fraudulently joined. Thus, the fraudulently

joined defendant, Auto Kings, is disregarded and need not consent to this removal for the purpose

of determining diversity of citizenship. United Comput. Sys., Inc. v. AT&T Corp., 298 F.3d 756,

762 (9th Cir. 2002) (stating that the rule of unanimity does not apply to fraudulently joined

parties).




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       21.     Pursuant to the provisions of 28 U.S.C. § 1446(d), VWGoA will give adverse

parties written notice of the filing of this Notice of Removal and shall file written notice of the

filing of this Notice of Removal with the Circuit Court of the State of Oregon for the County of

Deschutes.

       DATED: September 18, 2019.

                                                       MB LAW GROUP, LLP


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